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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 UNITED STATES OF AMERICA,



        Plaintiff,



 v.                                                       Civil Action No. 1:19-cv-1868 (RJL)



 OMAROSA MANIGAULT NEWMAN,



        Defendant.




   PLAINTIFF UNITED STATES OF AMERICA’S STATEMENT REGARDING
DEFENDANT’S MOTION FOR EXTENSION OF TIME TO FILE AN OPPOSITION TO
           PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Plaintiff filed its Motion for Summary Judgment in this case on December 7, 2020. At

approximately 2:45pm on December 21, 2020, the day Defendant’s opposition was due, see LCR

7(b), Defendant’s counsel sent a draft motion requesting an extension of 21 days to file an

opposition. The draft extension motion included as Paragraph 2 the following language, which

also appears as Paragraph 2 in the motion Defendant filed with the Court:

               Defense counsel received an email from Plaintiff’s counsel on December
               7, 2020 informing defense counsel that Plaintiff intended to file its Motion
               for Summary Judgment on that same date. Defense counsel responded that
               Defendant has asked for depositions so we obviously object to the Motion
               for Summary Judgment until discovery can be completed.
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Plaintiff’s counsel advised counsel for Defendant that Plaintiff could not consent to any motion

with this language and exhibit. Plaintiff notes that Defendant has never noticed in compliance

with Fed. R. Civ. P. 30(b) any deposition in this case. Nor has Defendant propounded discovery

requests of any kind since November 18, 2019, more than 13 months ago.1

        Because Defendant refused to remove the language and exhibit in question from the

motion, Plaintiff files this statement to clarify its position. Plaintiff ultimately defers to the Court

as to whether any extension of time should be granted, but does not believe that Paragraph 2

provides a basis for the requested extension under the circumstances.

Dated: December 21, 2020                        Respectfully submitted,

                                                JEFFREY BOSSERT CLARK
                                                Acting Assistant Attorney General

                                                ALEXANDER K. HAAS
                                                Branch Director

                                                JACQUELINE COLEMAN SNEAD
                                                Assistant Branch Director

                                                /s/ Christopher M. Lynch
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  In the motion filed with the Court, Defendant also included a new Paragraph 6, not present in
the draft motion sent to Plaintiff’s counsel at 2:45pm today. This Paragraph mischaracterizes
Plaintiff’s motion for protective order as “seeking to forbid all discovery and depositions sought
by Defendant.” ECF No. 27 at 2. Plaintiff’s protective order motion does no such thing;
Plaintiff’s motion seeks to forbid certain discovery, but not all discovery. See generally ECF No.
17 (Plaintiff’s Renewed Motion for Protective Order) & 17-2 (Proposed Order). To the extent
not addressed in that motion, Plaintiff responded to all of Defendant’s other requests months
before Plaintiff moved for summary judgment.
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                           Email: christopher.m.lynch@usdoj.gov

                           Attorneys for Plaintiff




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